                         USDC SDNY
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                                                                       86 Chambers Street
                                                                       New York, New York 10007


                                                                       January 11, 2021

          VIA ECF
          Honorable Gregory H. Woods
          United States District Judge                                MEMORANDUM ENDORSED
          United States District Court
          500 Pearl Street, Room 2260
          New York, NY 10007

             Re:     Charpentier, et al. v. Department of Homeland Security, et al., 20 Civ. 7510 (GHW)

          Dear Judge Woods:

                   This Office represents the defendants (the “government”) in the above-referenced FOIA
          action. On behalf of both parties, I write to respectfully request a two-week adjournment of the
          initial pre-trial conference, i.e., from the current scheduled conference of January 20, 2021 to
          February 3, 2021. Though plaintiffs’ counsel had previously entered a notice of non-availability
          starting January 24, 2021, see ECF No. 21, those plans have changed due to COVID, and plaintiffs’
          counsel will be available in February.

                  This is the parties’ fourth joint request for an adjournment of the conference. The Court
          granted the parties’ previous joint requests for an adjournment of the conference on December 7
          and 23, 2020 and January 6, 2021. See ECF Nos. 24, 26, 28. This extension is requested because
          plaintiffs’ counsel’s New York and Los Angeles offices have been shut down due to COVID cases
          in both offices, and to allow the parties additional time to confer regarding the FOIA requests.

                   I thank the Court for its consideration of this request.



                                                                    Respectfully submitted,

                                                                    AUDREY STRAUSS
                                                                    Acting United States Attorney

Application granted. The initial pretrial conference                 s/ Rebecca R. Friedman
scheduled for January 20, 2021 is adjourned to                      REBECCA R. FRIEDMAN
February 3, 2021 at 1:00 p.m. The joint letter and                  Assistant United States Attorney
proposed case management plan described in the                      86 Chambers Street, 3rd floor
Court's September 16, 2020 order, Dkt. No. 9, are due               New York, NY 10007
no later than January 27, 2021.                                     Tel: (212) 637-2614
SO ORDERED.                                                         Fax: (212) 637-2686
                            _____________________________________   rebecca.friedman@usdoj.gov
Dated: January 11, 2021           GREGORY H. WOODS
                                 United States District Judge
